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wEsTERN DISTRICT oF TENNESSEE aggrji’QlHSL/S id
eaja
U. S. A.vs. Lonn Conwa Docket No. 2:98CR20178-001

Petition on Probation and Supervised Release

COMES NOW D§yl K. Butler PROBATION OFFICER OF THE COURT presenting an official report
upon the conduct and attitude of Lonny Conway who Was placed on supervision by the Honorable Jerome Turner
sitting in the Court at Memghis, TN on the 12th day of FebMy, 1_99_9_1 who erd the period of supervision at
three 131 years * , and imposed the general terms and conditions theretofore adopted by the court and also imposed
special conditions and terms as follows:

l. The defendant shall maintain full-time employment

2. The defendant shall submit to drug abuse screens and programs as directed by the Probation Oflice.

3. The defendant shall pay restitution in the amount of $5,000.00. (Balance:$2,955.00)

* Supervision began June 26, 2002.

RESPECTFULLY PRESENT[NG PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
The defendant failed to pay $5,000.00 restitution as ordered by the Court.

Lonny Conway is unable to satisfy the restitution as ordered by the Court. He has made payments ranging from
$lS.O{) to $300.00, and it is believed that he has paid to the best of his financial ability. He has made a good faith
effort, however, to date, he has paid $2,045 .00, leaving an unpaid balance of $2,955.00. It should be noted that Mr.

Conway paid his $100.00 Special Assessment in fu]l. The U. S. Attorney’s Financial Litigation Unit has been
contacted, and they stated Mr. Conway’s restitution is currently being collected through U. S. Banl<ruptcy Court.

PRAYING THA'I` THE COURT WILL ORDER that Lonny Conway’s Supervised Release be allowed to expire
as scheduled on June 25, 2005, with the understanding that the Office of the United States Attorney/Financial
Litigation Unit will be responsible for the continued collection of restitution

 

ORDER OF COURT Respectful]y,
Considered and ordered this 20 Pkday a 2 §{é M
o , 20 O § and ordered filed Daryl Butler
and e a part of the records in the above United States Probation Oflicer

 
   
   

 

P ce Me his Tennessee

 

June 17. 2005

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:98-CR-20178 Was distributed by faX, mail, or direct printing on
.luly 5, 2005 to the parties listed.

 

 

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

